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				RE: AMENDMENTS TO RULES FOR USING THE OKLAHOMA COURT INFORMATION SYSTEM2017 OK 67Decided: 09/11/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 67, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



RE: AMENDMENTS TO RULES FOR USING THE OKLAHOMA COURT INFORMATION SYSTEM OF THE OKLAHOMA SUPREME COURT, TITLE 20 O.S., CH. 18. APP. 3




ORDER


The Rules for Using the Oklahoma Court Information System of the Oklahoma Supreme Court, 20 O.S., Ch. 18, App. 3, with amendments approved by this Court, are set out in full in the attached exhibit, and are hereby adopted with an effective date of October 1, 2017.

This order and the exhibit attached hereto shall be published three times in the Oklahoma Bar Journal.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on the 11th day of September, 2017.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., Watt, Winchester, Edmondson, Colbert, Reif, and Wyrick, JJ., concur;

Kauger, J., not voting.




EXHIBIT TO ORDER NO. SCAD-2017-64

Oklahoma Statutes
Title 20
Chapter 18
Appendix 3

Rules for Using the Oklahoma Court Information System of the Oklahoma Supreme Court 

Rule 1 - Purpose and Scope of Rules

The purpose of these Rules is to make clear that certain uses of Oklahoma Court Information System (OCISO.C.I.S.) resources are and are not appropriate by state and county employees, officials, public entities, and affiliate organizations connected to O.C.I.S.OCIS. The term "user" shall include any person, entity, or organization using or attempting to use an O.C.I.S.OCIS provided resource. A "resource" includes, but is not limited to, hardware, electronic network, computer-based information, information resource, or related activity managed or supervised by the O.C.I.S.OCIS.

The Rules are further designed to protect the Confidentiality, Integrity, and Availability of computing resources provided to such users. Users of O.C.I.S.OCIS are to use these resources responsibly, professionally, ethically, and lawfully. All resources are to be used in a manner that reflects common sense and good judgment, and that is consistent with the Court's standard of business conduct.

The Rules are not designed to enumerate all possible appropriate and inappropriate uses. The Oklahoma Supreme Court and its Chief Justice may at any time make determinations that particular uses are or are not appropriate. Nothing in these Rules shall be construed to limit the authority of the Supreme Court or Chief Justice thereof to act in a particular circumstance. Okla. Const., Art. 7, § 5.

The Rules for Using the Oklahoma Court Information System and amendments thereto shall become effective when filed with the Clerk of the Supreme Court. The Rules shall be codified at 20 O.S. Ch. 18, App. 3.

Rule 2 - Monitoring Use of O.C.I.S.OCIS and Investigation of Inappropriate Use

The Oklahoma Supreme Court's Management Information Services (O.S.C.M.I.S.MIS) monitors transmissions or requests originating inside and outside of O.C.I.S.OCIS, and has discretion to block access or take any other appropriate action necessary to protect O.C.I.S.OCIS upon discovery of the inappropriate activity. When O.S.C.M.I.S.MIS takes specific action to protect O.C.I.S.OCIS from such transmissions or requests it shall report the action taken to the Administrative Director of the Courts.

The resources governed by these Rules are the property of the State of Oklahoma and are provided to assist users in performing their jobs. There is no expressed or unexpressed pretext of confidentiality. Users should keep in mind that anything created or stored in the computer system may, and likely will, be reviewed by others, and by using such resources the user consents to such reviews. However, storage of court data, including emails or other records, on network servers or other locations which may be monitored or accessed by MIS personnel shall not operate to waive any applicable confidentiality, privilege, or other protection governing public disclosure.

While O.S.C.M.I.S.MIS monitors the use of transmissions on O.C.I.S.OCIS, routine reviews or judgments regarding the content of information transmitted on O.C.I.S.OCIS will not be made. However, personnel of O.S.C.M.I.S.MIS designated by the Administrative Director of the Courts shall investigate complaints of possible inappropriate use. Additionally, possible inappropriate use of O.C.I.S.OCIS that comes to the attention of personnel of O.S.C.M.I.S.MIS in the course of their duties shall be investigated by personnel of O.S.C.M.I.S.MIS designated by the Administrative Director of the Courts. The uses reviewed can include, but are not limited to, any and all materials created, stored, sent, or received on the computer, Internet and e-mail usage, Instant Messaging sessions, and usage detail on mobile computing devices such as Court-supplied PDA phones, and cellular modems, and laptops/tablets.

Rule 3 - Remedial Action Upon Inappropriate Use of O.C.I.S.OCIS

Users of O.C.I.S.OCIS are obliged to report any misuse, or possible misuse, of O.C.I.S.OCIS resources to the Administrative Director of the Courts for further investigation. Possible inappropriate use investigated by O.S.C.M.I.S. shall be reported to the Administrative Director of the Courts, the Information Security Officer The Administrative Director of the Courts (or the Director's designee), the MIS Director, and the Information Security Officer shall investigate possible inappropriate use, and shall take all necessary action to ensure system security and protect court operations. , and the Chief Justice of the Oklahoma Supreme Court. Upon receiving report of possible inappropriate use, the Chief Justice shall determine if such use is inappropriate. Upon a determination by the Chief Justice that such use is inappropriate the Chief Justice shall determine the appropriate remedial action and notify the Administrative Director of the Courts. The Administrative Director of the Courts (or the Director's designee) shall notify the employee, official, entity, or affiliate who must take such immediate remedial action as directed and inform the above parties of the action taken.

The Administrative Director of the Courts and/or the MIS Director shall report serious or repeated incidents of inappropriate use or possible misuse to the Chief Justice of the Oklahoma Supreme Court, who shall determine if such use is inappropriate and shall determine whether further remedial action is appropriate. 

In an emergency and in order to prevent further possible inappropriate activity, the Administrative Director of the Courts and/or the Information Security Officer may temporarily disconnect an employee, official, entity, or affiliate organization from O.C.I.S.OCIS and any of its services. The Administrative Director of the Courts and or the Information Security Officer shall notify the Chief Justice in writing via electronic mail when disconnecting an employee, official, entity, or affiliate due to an emergency. If a temporary disconnection is deemed necessary, effort will be made to inform the employee, official, entity, or affiliate prior to disconnection. Effort will be made to re-establish connection when deemed appropriate by the Chief Justice.

Rule 4 - Privacy and O.C.I.S.OCIS Use

The personnel of O.S.C.M.I.S.MIS shall safeguard the privacy of use of O.C.I.S.OCIS and information transmitted thereby to the extent recognized by law and these Rules. Proceedings pursuant to Rules 2 and 3 shall be confidential to the extent required by law, provided that, in any such proceeding not required by law to be confidential the Chief Justice may direct the extent to which it shall nonetheless be confidential. Nothing in the rules and policies applicable to OCIS users shall be construed to waive any confidentiality, privilege, or other protection governing disclosure of court data, judicial communications, or any other records.

Rule 5 - Network and Online Usage Policy

This rule is a guide for appropriate use of O.C.I.S.OCIS provided resources. Users (as defined in Rule 1) must comply with this policy and acceptable use policies of any other networks or hosts used. The following guidelines will be used to determine if a particular use of O.C.I.S.OCIS is appropriate, if remedial action pursuant to Rule 3 will be taken, and if any other supervisory action by the Chief Justice or the Oklahoma Supreme Court is appropriate.

1. Users shall not use any computing resource to:

a. create, download, store, view, exhibit, or transmit material that is fraudulent, harassing, embarrassing, sexually explicit, profane, obscene, intimidating, defamatory, or material that is otherwise unlawful or illegal, or which infringes on the rights of any other person;

b. conduct any business or activity for commercial purposes or financial gain, including publishing material which contains any advertising or any solicitation of others to use goods or services;

c. conduct any political activity.

2. Users must respect the privacy of others; for example, users shall not intentionally seek information on, obtain copies of, or modify, files or other data belonging to another user unless expressly authorized to do so by that user;.

3. Users must respect the legal protection provided by copyright and license to programs and data.

4. Users must respect the integrity of computing and network systems; for example:


a. users shall not intentionally develop or use programs that harass other users or infiltrate a computer, computing system, or network and/or damage or alter software components of a computer, computing system, or network;

b. users shall not install, or cause to be installed, a virus or malicious software program;

c. users shall not seek or gain unauthorized access to any computer system;

d. a user's ability to connect to resources does not imply a right to connect to or make use of those resources unless specifically authorized.

5. Use should be consistent with guiding ethical statements and accepted community standards.

6. O.C.I.S.OCIS may not be used in ways that violate laws, regulations, codes of professional conduct applicable to particular users, and court rules.

7. Use of O.C.I.S.OCIS and any attached network in a manner that precludes or significantly hampers its use by others is not allowed, for example:

a. making use of streaming audio or video content, such as movies, clips, or radio stations; Such content should be restricted to business need only;

b. sending mass mailings or chain letters;

c. spending excessive amounts of time on the Internet for non-business related purposes;

d. playing/downloading games, audio, video, photos, or other entertainment software for non-business related purposes;

e. engaging in online chat groups, message boards, social networking or blogs for non-business related purposesof a personal nature;

f. using excessive disk space for storage of personal files such as music or photographs;

g. establishing connections that create routing patterns that are inconsistent with effective shared use of O.C.I.S.OCIS.

h. Users shall not connect any personal computer systems (i.e. desktop computers, laptop or tablet computers, or storage peripherals) to the O.C.I.S.OCIS network. Contractors shall not connect devices to the OCIS network without prior approval from the MIS Director or Deputy Director.

8. Executable files shall not be downloaded from the Internet without express permission from O.S.C.M.I.S.MIS, and when downloading is allowed it shall occur under such conditions as prescribed by O.S.C.M.I.S.MIS. Software not provided by O.S.C.M.I.S.MIS shall not be installed on a user's computer without the express consent and participation of O.S.C.M.I.S.MIS.

9. Users shall not publicize or share an individually assigned O.C.I.S.OCIS password in any way, nor shall users seek information on, obtain a copy of, or modify the password of another user. Users may share an O.C.I.S.OCIS common account pursuant to O.C.I.S.OCIS parameters only when expressly authorized in writing by the O.S.C.M.I.S.MIS.

10. Passwords shall meet complexity requirements and be changed at regular intervals per requirements set forth by O.S.C.M.I.S.MIS.

11. No user shall use an O.C.I.S.OCIS account assigned to another person or entity, and all users are responsible for any and all actions performed under the logon assigned for their use, regardless of whether they were the perpetrators of said actions.

12. Users shall not intentionally attempt to harm or destroy data of another user, the Internet, or any agency or other network connected to O.C.I.S.OCIS or the Internet.

13. Users shall clear their work surfaces and computer screens of any confidential and/or proprietary information before leaving their work area for any duration. The use of a password-protected screen saver is required and shall be set with an activation time not to exceed 30 15 minutes.

14. Users shall ensure the physical security of any mobile computing devices provided to them by O.S.C.M.I.S.MIS. Loss or theft of any mobile computing device, including a cellular phone/PDA, removable media, or laptop computer must be immediately reported to the Information Security Officer upon discovery of such loss or theft.

15. Users shall take all reasonable care to safeguard and properly dispose of any materials downloaded onto a device accessing O.C.I.S.OCIS resources remotely. Any materials downloaded to such a device should only be retained for as long as the immediate need prescribes. Credit card data, encryption keys, or other highly confidential material shall not be accessed from or stored on such a device under any circumstances.

16. The Supreme Court or Chief Justice thereof may determine other inappropriate uses.


Rule 6 - Review of Rules

Any user as defined in Rule 1 may request that the Oklahoma Supreme Court modify, by deletion or addition, the Rules for using O.C.I.S.OCIS. The request for modification shall be in writing and plainly state that the applicant is seeking modification of the Rules for Using the Oklahoma Court Information System. The application must state with particularity the requested modification and the reasons in support thereof. The application with two copies shall be sent to the Administrative Director of the Courts.

Rule 7 - E-mail and Internet Access

A. Defined. For the purpose of these Rules, electronic mail or "e-mail" is a message or electronic file sent or received by a person using an O.C.I.S.OCIS e-mail account and is considered a "resource" for the purpose of these Rules. An O.C.I.S.OCIS e-mail account is a service supervised by the O.S.C.M.I.S.MIS. That service provides computer access to the Internet and/or an O.C.I.S.OCIS supervised network for the purpose of sending or receiving electronic messages or files by O.C.I.S.OCIS users.

B. Non-Privacy of E-Mail and E-Mail Requiring a Prompt Response. Users are cautioned that Eelectronic mail via O.C.I.S.OCIS shouldshall not be regarded as a private communication between the user and recipient because other persons may be able to have access and read the communication. Unless otherwise authorized by the Administrative Director of the Courts, or by the judge in the underlying case, Internet e-mail (e-mail that originates from an O.C.I.S.OCIS e-mail account and is sent to a recipient outside of the O.C.I.S.OCIS network) shall be encrypted if the information is confidential. No confidential information shall be sent by Internet e-mail if encryption is not available. However, nothing herein shall be construed to waive any confidentiality, privilege, or other protection governing judicial communications or court data, including e-mails or other records. The date and time that an e-mail is received by a recipient depends upon several factors. Communication of a message by a means other than e-mail is suggested when a prompt response to that message is necessary.

System-generated messages, including e-mails related to online payments, electronic filing, and information exchange protocols (IEPs), may be transmitted in unencrypted format as necessary to accomplish the particular purpose. Users shall not make unauthorized changes to automated messages, or use system-generated e-mail messages for unauthorized purposes.

C. Content and Form of Messages. The content of all e-mail shall be professional and courteous. All e-mail sent by a person using an O.C.I.S.OCIS e-mail account shall include as a part of the message; 1. the name of the person sending the message, 2. the sender's position or title, 3. the sender's place of employment or affiliation, 4. the sender's e-mail address, and 5. the sender's business telephone number.

D. O.C.I.S.OCIS Account Holders to Manage E-Mail Resources. The following suggested guidelines are for the purpose of maximizing O.C.I.S.OCIS resources for all persons using O.C.I.S.OCIS e-mail accounts. The O.S.C.M.I.S.MIS may limit an account holder's access to O.C.I.S.OCIS services if that person uses a disproportionate amount of O.C.I.S.OCIS resources by that person failing to properly manage assigned resources. E-mail should be checked regularly, unwanted messages deleted, and e-mail kept in electronic mailboxes should be kept to the minimum required to support each user's business needs.

E. Appropriate Use of E-Mail Accounts and Internet Access. In addition to the provisions of Rule 5 of these Rules the following additional provisions shall be used to determine appropriate use of an O.C.I.S.OCIS e-mail account or O.C.I.S.OCIS provided Internet access. The following will be used to determine if remedial action pursuant to Rule 3 will be taken, and if any other supervisory action by the Chief Justice or the Oklahoma Supreme Court is appropriate.

1. Repeated unsolicited and unwanted communication of an intrusive nature is prohibited. For example, continuing to send e-mail messages to a person is not acceptable if the recipient has informed the sender to cease further communication.

2. An O.C.I.S.OCIS e-mail account or O.C.I.S.OCIS provided Internet access shall not be used to send anonymous messages via an anonymous re-mailing service. E-mail shall contain the sender's name and affiliation or employer of the sender;. See Rule 7(C).

3. An O.C.I.S.OCIS e-mail account or O.C.I.S.OCIS provided Internet access shall not be used to publish to a discussion group or other public forum a personal communication when the author of the communication has not given his or her consent to such publication.

4. An O.C.I.S.OCIS e-mail account or O.C.I.S.OCIS provided Internet access shall not be used to send or publish chain letters or broadcast messages to lists or individuals for non-business related purposes.

Rule 8 - Publication of Court Related E-Mail Addresses

The O.C.I.S.OCIS e-mail addresses of judges, court clerks, and other court officials may be included on official letterheads and business cards. The O.C.I.S.OCIS e-mail addresses of court officials may be published in government directories, office directories, and in directories of professional organizations when the officials are members of such organizations. The O.C.I.S.OCIS e-mail address of a court official may not be included in personal listings or directories unrelated to the office the official holds.





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